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            To:         Devon Archer[darcher@rosemontcapital.com]; Bevan Cooney[btcooney@gmail.com]
            From:       Holmby
            Sent:       Wed 2/19/2014 2:32:55 AM
            Subject:    No Subject-4501.EML

            Guys I am getting close on the shell. I'm working on a second shell as well for another Arben deal. We
            also will have a draft of the registration statement for the NASDAQ IPO that I am including you shitheads
            in. I also think that Dan McClory will have an engagement for Dynatronics. We are back in moneymaking
            mode. The Greek is good at this part. Product manufacturing, and product sales. Equals luxury
            merchandise fund.

            Sent from my iPhone




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                                                                                                                                2005
                                                                                                                               16 Cr. 371 (RA)



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